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Attorneys for Defendants and
Nominal Defendant Bed Bath & Beyond Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                    Master File No. 2:20-cv-08673-MCA-MAH
IN RE BED BATH & BEYOND
STOCKHOLDER DERIVATIVE
LITIGATION




        DEFENDANTS’ NOTICE OF MOTION TO DISMISS PLAINTIFFS’
     VERIFIED SHAREHOLDER DERIVATIVE CONSOLIDATED COMPLAINT

       PLEASE TAKE NOTICE that, on April 4, 2022 (which is the first regular motion day

after the March 21, 2022 deadline set by the Court for the filing of reply papers), or as soon

thereafter as counsel may be heard, all individual defendants and nominal defendant Bed Bath &

Beyond Inc. (collectively, “Defendants”), by their undersigned counsel, Proskauer Rose LLP,

shall move before the Honorable Madeline Cox Arleo, at the United States District Court for the

District of New Jersey, located at 50 Walnut Street, Newark, New Jersey 07102, or as otherwise

directed, for an order dismissing plaintiffs’ Verified Shareholder Derivative Consolidated

Complaint in its entirety pursuant to Rules 23.1 and 12(b)(6) of the Federal Rules of Civil

Procedure.
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       PLEASE TAKE FURTHER NOTICE that, together with this motion, Defendants will

rely on the accompanying memorandum of law, the declaration of Jonathan E. Richman with

attached exhibits, and all other pleadings on file in this action, as well as any oral argument that

might take place.

       PLEASE TAKE FURTHER NOTICE that, if Plaintiffs request oral argument on this

motion, Defendants also request it.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

herewith.

Dated: January 4, 2022
                                               Respectfully submitted,


                                               /s/ Edna D. Guerrasio
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


                                                 Master File No. 2:20-cv-08673-MCA-MAH
IN RE BED BATH & BEYOND
STOCKHOLDER DERIVATIVE
LITIGATION




                    [PROPOSED] ORDER GRANTING
              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
     VERIFIED SHAREHOLDER DERIVATIVE CONSOLIDATED COMPLAINT

       THIS MATTER having been brought before the Court by all named defendants and

nominal defendant Bed Bath & Beyond Inc. by way of a motion, filed on January 4, 2022, to

dismiss plaintiffs’ Verified Shareholder Derivative Consolidated Complaint (the “Complaint”)

pursuant to Federal Rules of Civil Procedure 23.1 and 12(b)(6), and the Court having considered

all written submissions and arguments of counsel, and for good cause shown:
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       IT IS HEREBY ORDERED that defendants’ motion to dismiss is GRANTED, and

plaintiffs’ Complaint in this action is hereby DISMISSED in its entirety with prejudice and

without leave to amend.

       SO ORDERED this ___ day of ______________, 2022.




                                                    The Honorable Madeline Cox Arleo
                                                    United States District Judge




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